Case 2:04-cr-20390-.]DB Document 92 Filed 07/25/05 Page 1 of 7 Page|D 101

  
 
 

uNiTEo sTATEs DlsTnicT count also 911 w DT,
wEsTERN DisTch oF TENNEssEE *"
MEMPHis DlvisioN 05 JU!_ 25 pH 3. 3b
uNlTEo s'rATEs oF AMERicA .'1;11.113 11 -~[»,ULD
01111'1:, 1111 1511

IHL" ,"|

-V- 22 O4CF\20390-02-B l"l'!.‘} *“-`1' ;:

DOSEY NEWTON
Sarah N|erritt Retained
Defense Attorney
3109 Kiehl Avenue
Sherwood, AR 72120

 

 

JUDG|V|ENT |N A CR|N||NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on February 09, 2005.
According|y, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Title & section Mw_f@f_an_$s Offense Number(s)
Myd_¢a§
18 U.S.C. § 371 Conspiracy to Defraud the United 10/261'1 998 1

States

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Nlandatory
Victims Ftestitution Act of 1996

Counts 2-7 are dismissed on the motion of the United States.

lT |S FURTHER ORDERED that the defendant shall notify the United States Attomey for this district
within 30 days of any change of name, residence, or mailing address until alt tines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. 431 -13-9753 Date ot imposition of Sentence:
Defendant’s Date of Birth: 9/10/1965 |V|ay 09, 2005
Deft’s U.S. N|arsha| No.: 19882-076 Date of Restitutiorl Modification'.

July 21 , 2005

Defendant’s l\f|ai|ing Address:
208 Nlissouri Street
Pine B|uff, AR 71601

(

This d J. DAN|EL BREEN
w‘ GCU'T'SH! em U |TED STATES D|STFHCT JUDGE
55 '

On th
army 8 d r“
0132(£)) FHCFP:;!(W duly 23 l 2005 \
-" l l." 09 9 2

 

Case 2:04-cr-20390-.]DB Document 92 Filed 07/25/05 Page 2 of 7 Page|D 102

Case No: 2:04CR20390-02-B Defendant Name: Dosey NEWTON Page 2 of 6
l|V|PRiSON|VlENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 5 |\ilonths.

The Court recommends to the Bureau of Prisons: placement at Forrest City,
Arkansas.

The defendant shall surrender for service of sentence at the institution designated
by the Bureau of Prisons as notified by the United States N|arsha|.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. |V|arsha|

Case 2:04-cr-20390-.]DB Document 92 Filed 07/25/05 Page 3 of 7 PagelD 103

Case No; 2:04CF120390-02-B Defendant Name: Dosey NEWTON Page 3 of 6

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 2 Years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised reiease, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, am munition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERVIS|ON

1. The defendant shall not leave thejudicia| district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possessl use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, usedl
distributed. or administered;The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

8. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation ofticer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

Case 2:04-cr-20390-.]DB Document 92 Filed 07/25/05 Page 4 of 7 PagelD 104

Case No: 2:04CFt20390-02-B Defendant Name: Dosey NEWTON Page 4 of 6

10. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

11. As directed by the probation officerl the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

12. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Pena|ties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. Participate in the Home Detention program for a period of 3 lVlonths. During this time,
defendant will remain at defendant’s place of residence except for employment and other activities
approved in advance by the Defendant’s Probation Officer. Defendant will be subject to the
standard conditions of Home Detention adopted for use in the Western District of Tennessee, which
may include the requirement to wear an electronic monitoring device and to follow electronic
monitoring procedures specified by the Probation Officer.

2. Participate in substance abuse testing and treatment programs as directed by the Probation
Officer.

3. l\/lake full financial disclosure to the probation office.
4_ Provide third party risk notification as directed by the probation office.

5. Do not acquire any new financial obligations without the permission of the Probation Officer.

O)

. Cooperate with DNA collection as directed by the Probation Officer.

Case 2:04-cr-20390-.]DB Document 92 Filed 07/25/05 Page 5 of 7 PagelD 105

Case No: 2:04CFt20390-02-B Defendant Name: Dosey NEWTON Page 5 of 6

F|NE
No fine imposed
REST|TUT|ON

Ftestitution in the amount of $32,000.00 is hereby ordered. The defendant shall
make restitution to the following victims in the amounts listed below.

Priority
Total Amount of Order
Name of pa![ee Amount Restitution Ordered or
of Loss Percentage
.QLP_E!yl_“_eD_t_

First Tennessee Bank, $32,000.00 $32,000.00
Attn: Clay Barnett

lf the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified othen/vise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page.

Case 2:04-cr-20390-.]DB Document 92 Filed 07/25/05 Page 6 of 7 PagelD 106

Case No: 2:04CFl20390-02-B Defendant Name: Dosey NEWTON Page 6 of 6

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Specia| instructions regarding the payment of criminal monetary penalties:

Defendant shall pay restitution in regular monthly installments of not less than 10%
of his gross monthly income.

Unless the court has expressly ordered othen/vise in the special instructions above, if this judgment
imposes a period of imprisonment payment of criminal monetary penalties shall be due during the
period of imprisonment A|l criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ inmate Financia| Flesponsibi|ity Program, are made to the clerk of the
court, unless otherwise directed by the court, the probation officer, or the United States attorney.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

  
 

ENNESSEE

 
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 92 in
case 2:04-CR-20390 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

 

Sara F. Merritt

LAW OFFICE OF SARA F. MERRITT
3109 Kiehl Ave.

Shervvood7 AR 72120

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

